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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


Leland Foster, Individually,            :
                                        :
              Plaintiff,                :   Case No. 2:16-cv-13340
v.                                      :
                                        :
The BON-TON DEPARTMENT STORES Inc., :
a Pennsylvania Corporation,             :
                                        :
              Defendant.                :
______________________________________/ :
                                        :
                                        :

            STIPULATION AND ORDER FOR DISMISSAL
________________________________________________________________
OWEN B. DUNN, JR. (P66315)          RIDLEY S. NIMMO, II (P54783)
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__________________________________________________________________

                          STIPULATION FOR DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the

parties hereto, through their respective counsel, that the above-entitled cause of
Case 2:16-cv-13340-LJM-DRG ECF No. 7 filed 12/15/16        PageID.22    Page 2 of 3



action be dismissed with prejudice, and without costs, interest or attorney fees to

either party.

By /s/Owen B. Dunn, Jr.                     By /s/ Ridley S. Nimmo, II
   OWEN B. DUNN, JR. (P66315)                 RIDLEY S. NIMMO, II (P54783)
   Attorney for Plaintiff                      Attorney for Defendant
Case 2:16-cv-13340-LJM-DRG ECF No. 7 filed 12/15/16          PageID.23    Page 3 of 3




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


Leland Foster, Individually,            :
                                        :
              Plaintiff,                :     Case No. 2:16-cv-13340
v.                                      :
                                        :
The BON-TON DEPARTMENT STORES Inc., :
a Pennsylvania Corporation,             :
                                        :
              Defendant.                :
______________________________________/ :
                                        :
                                        :

                               ORDER OF DISMISSAL


       Upon the reading and filing of the foregoing stipulation of the parties; and

the Court being otherwise fully advised in the premises;

       IT IS HEREBY ORDERED that the above-entitled cause of action be and

the same is hereby dismissed with prejudice, and without costs, interest or attorney

fees to either party.

       This resolves the last pending claims in this matter and closes the case.

       IT IS SO ORDERED.
                                              s/Laurie J. Michelson
                                              LAURIE J. MICHELSON
Dated: December 15, 2016                      U.S. DISTRICT JUDGE
